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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
MARLON CANADY,

Plaintiff,
Vv. Civil Action No. 3:19CV725

LEON DIXON, et al.,

Defendants.

MEMORANDUM OPINION

Marlon Canady, a Virginia inmate proceeding pro se and in
forma pauperis, filed this 42 U.S.C. § 1983 action.! The matter
is before the Court on the Motion to Dismiss filed by Leon Dixon,
D.A. Lewis, and Mark Amonette (“Defendants”) .? Canady has
responded. For the reasons set forth below, the Motion to Dismiss

will be granted in part and denied in part.

I. STANDARD FOR A MOTION TO DISMISS
“A motion to dismiss under Rule 12(b)(6) tests the
sufficiency of a complaint; importantly, it does not resolve
contests surrounding the facts, the merits of a claim, or the

applicability of defenses.” Republican Party of N.C. v. Martin,

 

* The Court employs that pagination assigned by the CM/ECF
docketing submission for the citations to the parties’
submissions. The Court corrects the spelling, punctuation, and
capitalization.

2 Dixon is a doctor at Nottoway Correctional Center (“NCC”).
(ECF No. 1-1, at 1.) Lewis is the Grievance Coordinator at NCC.
(Id.) Amonette is the Chief Medical Director for the Virginia
Department of Corrections (“VDOC”). (Id.)
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980 F.2d 943, 952 (4th Cir. 1992) (citing 5A Charles A. Wright &

Arthur R. Miller, Federal Practice and Procedure § 1356 (1990)).

 

In considering a motion to dismiss for failure to state a claim,
a plaintiff’s well-pleaded allegations are taken as true and the
complaint is viewed in the light most favorable to the plaintiff.

Mylan Labs., Inc. v. Matkari, 7 F.3d 1130, 1134 (4th Cir. 1993) ;

 

see also Martin, 980 F.2d at 952. This principle applies only to
factual allegations, however, and “a court considering a motion to
dismiss can choose to begin by identifying pleadings that, because
they are no more than conclusions, are not entitled to the

assumption of truth.” Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009).

 

The Federal Rules of Civil Procedure “require[ ] only ‘a short
and plain statement of the claim showing that the pleader is
entitled to relief,’ in order to ‘give the defendant fair notice
of what the . . . claim is and the grounds upon which it rests.'”
Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (second
alteration in original). Plaintiffs cannot satisfy this standard
with complaints containing only “labels and conclusions” or a
“formulaic recitation of the elements of a cause of action.” Id.
(citations omitted). Instead, a plaintiff must allege facts
sufficient “to raise a right to relief above the speculative
level,” id. (citation omitted), stating a claim that is “plausible
on its face,” id. at 570, rather than merely “conceivable.” Id.

“A claim has facial plausibility when the plaintiff pleads factual
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content that allows the court to draw the reasonable inference
that the defendant is liable for the misconduct alleged.” Igbal,
556 U.S. at 678 (citing Bell Atl. Corp., 550 U.S. at 556). In
order for a claim or complaint to survive dismissal for failure to
state a claim, therefore, the plaintiff must “allege facts

sufficient to state all the elements of [his or] her claim.” Bass

 

v. E.I. DuPont de Nemours & Co., 324 F.3d 761, 765 (4th Cir. 2003)
(citing Dickson v. Microsoft Corp., 309 F.3d 193, 213 (4th Cir.
2002); Iodice v. United States, 289 F.3d 270, 281 (4th Cir. 2002)).
Lastly, while the Court liberally construes pro se complaints,
Gordon v. Leeke, 574 F.2d 1147, 1151 (4th Cir. 1978), it does not
act as the inmate’s advocate, sua sponte developing statutory and
constitutional claims the inmate failed to clearly raise on the
face of his complaint. See Brock v. Carroll, 107 F.3d 241, 242-

43 (4th Cir. 1997) (Luttig, J., concurring); Beaudett v. City of

 

Hampton, 775 F.2d 1274, 1278 (4th Cir. 1985).

Canady’s thirty-six-page Complaint contains separate sections
listing his “FACTS” and his “CAUSE[S] OF ACTION” or claims. (ECF
No. 1-1, at 7, 24.) In his facts section, Canady makes passing
reference to various constitutional provisions that are not always
repeated when he specifies his legal claims. The Court declines
to construct claims from the passing legal quips in the facts
section of the Complaint. Beaudett, 775 F.2d at 1278 (observing

that “[dJjistrict judges are not mind readers. Even in the case of
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pro se litigants, they cannot be expected to construct full blown
claims from sentence fragments”). Instead, the Court will address
only those legal claims specified by Canady in his “CAUSE[S] OF

ACTION” sections of his Complaint.

II. ALLEGATIONS
On November 14, 2016, Canady signed up for sick call at NCC
to see the doctor regarding a staph infection. (ECF No. 1-1 § 10.)
Nevertheless, Canady was not seen in the medical department in
November and December of 2016. (Id. § 11.) Canady was a housing
unit shower cleaner and believed he had contracted Methicillin
Resistant Staphylococcus Aureus ("MRSA") infection. (Id. § 12.)

Between November and April 6, 2017, Canady was suffering from

painful blisters on his toes, thighs, calves and arms. (Id. q
13.) The blisters bled and oozed pus when scratched. (Td.)

A. Canady’s April 6, 2017 Interaction With Dr. Dixon

On April 6, 2017, Canady was seen by Dr. Dixon. (Id. § 14.)

Canady explained the history of his ailments, his job as a shower

cleaner, and his belief that he had a MRSA infection. (Id. 99 14,

15.) Dr. Dixon “insisted the blisters [were] caused by dry skin.”
(Id. 9 16.) Canady “disagreed with Dixon’s diagnosis” and informed
Dr. Dixon that he believed that he had a MRSA infection. (Id.)

Dr. Dixon told Canady to “to ‘SHUT UP’ and listen to him, and if

[Canady] did not shut up and listen to him... ., he (Dixon) was
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not going to treat [Canady].” (Id. § 17.) When Canady continued

to attempt to explain to Dr. Dixon that Dixon could not feel

Canady’s pain, Dr. Dixon told Canady, “‘get out, ... I'm not
going to treat you, get out.’” (Id. § 18.) As Canady was exiting
the exam room, Dr. Dixon told Canady to change his job. (Id.
q 19.)

B. Canady’s Informal Complaints and Grievances In The Wake

Of The April 6, 2017 Medical Appointment

On April 19, 2017, Canady submitted an informal complaint
with five attached pages to officials at NCC complaining about Dr.
Dixon’s actions and his incompetence. (Id. § 21.) Defendant
Lewis, the grievance coordinator, noted on the informal complaint
that “continuations to informal complaints are not allowed nor
addressed. Follow directions. Attachment returned.” (ECF No. 1-
2, at 2.) Defendant Lewis than passed the informal complaint to
the nurse on the medical unit, who responded to the informal
complaint. (Id.)

On May 3, 2017, Canady filed a grievance against Dr. Dixon.
(ECF No. 1-1 4 28.) “Defendant Lewis again hindered [Canady’s]
right to successfully file a grievance to resolve his complaint.”
(Id. ) In that grievance, Canady complained about Dr. Dixon’s
treatment and Defendant Lewis’s refusal to process all the

attachments to his informal complaint described above. (ECF No. 1-

2, at 10.) In the portion of the grievance where Canady was
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supposed to list what action he wanted taken, Canady stated: ‘I
want to be treated by medical for my complaint, and I want the
institutional ombudsman Lewis to file the entire complaint
(attachments) ... .” (Id.) Defendant Lewis returned the
grievance to Canady unprocessed because she stated it was a
“Request for services.” (Id. at 11.) Canady pursued an appeal to
the Regional Ombudsman regarding Defendant Lewis’s refusal to
process his grievance. (Id. at 11.) The Regional Ombudsman Hawey
rejected Canady’s appeal of the intake decision because Canady had
exceeded the “5 day time limit for review.” (Id.)

On May 8, 2017, Canady filed another grievance about Defendant
Lewis’s interference with his filing of informal complaints by
failing to stamp and process his attachments to his informal
complaint. (Id. at 12.) Lewis returned the grievance to Canady
unprocessed and marked the box, “Does not affect you personally
(This issue did not cause you personal loss or harm) .” (Id. at
13.) Canady appealed Lewis’s intake decision to the Regional
Ombudsman. (Id. at 13.) On May 17, 2017, Regional Ombudsman Hawey
upheld Lewis's intake decision. (Id.)

Cc. Canady’s Medical Condition After April 2017

Following the April 6, 2017 medical encounter, Canady’s
medical condition slowly deteriorated. (ECF No. 1-1 § 34.) In
addition to the blisters, Canady developed plantar fasciitis and

bone spurs in his left foot. (Id.) On July 31, 2017, Canady was
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seen at sick call and diagnosed with plantar fasciitis. (Id.
{ 35.)

On August 1, 2017, Canady filed an informal complaint and
Stated he could not walk on the heel of his left foot. (Id. ] 38.)
On that same day, he was seen at sick call and told by the nurse
that he needed antibiotics. (Id.) On August 3, 2017, Canady filed
an filed an emergency grievance complaining that he was in severe

pain and was being denied adequate medical treatment. (Id. § 39.)

On Friday, August 4, 2017, Dr. Dixon diagnosed Canady with

bone spurs in his left foot and an infection. (Id. § 40.) Dr.
Dixon prescribed antibiotics twice a day for fourteen days. (Id.)
Canady’s MRSA infection became worse over the weekend. (Id. § 41.)

Canady “was unable to eat,” or move around and spent the weekend
vomiting. (Id. ) Finally, on Sunday, August 6, 2017, Canady’s
prescription for antibiotics began. {Id.)

By August 8, 2017, Canady “was extremely ill” from his MRSA
infection. (Id. § 42.) “A large knot (hard and painful) half the
size of a soft ball had formed on the back of [Canady’s] right
thigh.” (Id.) Dr. Dixon had Canady transferred to the emergency
room at Centra Southside Community Hospital. (Id. 4 43.) At
Centra Southside Community Hospital, Canady was diagnosed with a
heel spur, plantar fasciitis, and cellulitis, “MRSA suspected.”

(Id. § 44.) After four hours of receiving intravenous antibiotics,
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Canady’s condition stabilized. (Id. § 45.) Canady was prescribed
a fourteen-day prescription of oral antibiotics. (Id.)

On August 10, 2017, Dr. Dixon decided to withhold treatment
on Canady’s bone-spur until the MRSA infection was resolved. (Id.
q 49.)

On August 18, 2017, Canady stopped taking antibiotics. (Id.
{ 50.) Canady contends that he had been overprescribed antibiotics
and this caused him to vomit repeatedly and to fall on the floor.
(Id. ¥§ 50-51.)

Dr. Dixon failed to schedule a follow-up appointment for
Canady’s bone spur and plantar fasciitis. (Id. § 52.) Over the

next two years, Dr. Dixon continued to deny Canady treatment for

his bone spurs and plantar fasciitis. (Id. §¢ 58.) Canady is
unable to walk or jog for very long. (Id. 4 59.)
D. Canady’s Grievances From August 31, 2017 Onward

On August 31, 2017, Canady submitted a grievance complaining
that Dr. Dixon had done nothing to treat his foot pain. (Id.
q 53.) On September 1, 2017, Defendant Lewis returned the
grievance to Canady because Canady had not submitted evidence that
demonstrated that Canady had attempted to utilize an informal
complaint prior to filing his grievance. (Id. § 54.) Canady

contends that this was a purposeful attempt by Defendant Lewis to

interfere with Canady’s medical care, because Canady had submitted
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his informal complaint along with his grievance to Defendant Lewis.

(Id.)

Canady pursued an appeal of Defendant Lewis’s refusal to
process his grievance at intake because of the purported lack of
documentation that he had filed an informal complaint. (ECF No. 1-
3 at 9.) On September 27, 2017, Regional Ombudsman Boone rejected
Canady’s appeal because Canady had exceeded “the 5-day time limit

for review.” {Id.)

III. Canady’s Claims

Claim 1 Defendant Dixon violated Canady’s right to adequate
medical care under the Eighth Amendment. On April
6, 2017, Dr. Dixon refused to treat Canady’s MRSA
infection and told Canady to shut up and get out.
After that date, the MRSA infection became
progressively worse.

Claim 2 (a) Defendant Lewis violated Canady’s rights under
the First Amendment when she interfered with
Canady’s attempt to file informal complaints
and grievances.
(ob) Defendant Lewis violated Canady’s Eighth
Amendment right to adequate medical care by
interfering with Canady’s informal complaints
and grievances complaining about his medical
care.

Claim 3 Defendant Amonette has supervisory liability for
the constitutional violations of Dr. Dixon because
Defendant Amonette refused to respond to Canady’s
grievance appeals regarding the inadequate
treatment Canady received for his MRSA infection,
plantar fasciitis, and heel spur.

The Court notes that, in his Response to the Motion to

Dismiss, Canady contends that he also brought a claim against Dr.
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Dixon for failing to provide adequate medical care for his plantar
fasciitis. (ECF No. 23, at 3.) Canady did not plead such a claim
in his Complaint.3 Moreover, in Response to the Motion to Dismiss,
where he recites the facts that support his putative claim of
inadequate medical care for his foot, Canady relies on facts not
recited in the Complaint. (Id. at 41-42.) “{(N]ew legal theories
must be added by way of amended pleadings, not by arguments
asserted in legal briefs.” Equity in Athletics, Inc. v. Dep’t of
Educ., 504 F. Supp. 2d 88, 111 (W.D. Va. 2007) (citations omitted) ;
see E.I. du Pont de Nemours & Co. v. Kolon Indus., Inc., 847 F.
Supp. 2d 843, 851 n.9 (E.D. Va. 2012). Canady remains free to
file an amended complaint raising a claim of inadequate medical
care against Dr. Dixon, but the Court refuses to consider one on
the materials currently before it.

Canady also states that he “reserves the right to file a
future retaliatory transfer claim... .” (Id. § 83.) Canady
has not moved to amend to file such a claim, and the undeveloped

retaliatory transfer claim will receive no further consideration.

 

* In the portion of the Complaint wherein he specified his
claims against Dr. Dixon, Canady did not mention his foot problems.
(ECF No. 1-1, at 24-26.)

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Iv. Analysis
A. Eighth Amendment Principles
To state an Eighth Amendment claim, an inmate must allege
facts that indicate “(1) that objectively the deprivation of a
basic human need was ‘sufficiently serious,’ and (2) that
subjectively the prison officials acted with a ‘sufficiently

culpable state of mind.’” Johnson v. Quinones, 145 F.3d 164, 167

 

(4th Cir. 1998) (quoting Wilson v. Seiter, 501 U.S. 294, 298

 

(1991)). Under the objective prong, the inmate must allege facts
to suggest that the deprivation complained of was extreme and
amounted to more than the “routine discomfort” that is “part of
the penalty that criminal offenders pay for their offenses against

society.” Strickler v. Waters, 989 F.2d 1375, 1380 n.3 (quoting

 

Hudson v. McMillian, 503 U.S. 1, 9 (1992)). “In order to

 

demonstrate such an extreme deprivation, a prisoner must allege ‘a
serious or significant physical or emotional injury resulting from

the challenged conditions.’” De’Lonta v. Angelone, 330 F.3d 630,

 

634 (4th Cir. 2003) (quoting Strickler, 989 F.2d at 1381). With
respect to claims of inadequate medical treatment under the Eighth
Amendment, “the objective component is satisfied by a serious
medical condition.” Quinones, 145 F.3d at 167.

The subjective prong requires the plaintiff to allege facts
that indicate a particular defendant actually knew of and

disregarded a substantial risk of serious harm to his person. See

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Farmer ov. Brennan, 511 U.S. 825, 837 (1994). “Deliberate
indifference is a very high standard—a showing of mere negligence

will not meet it.” Grayson v. Peed, 195 F.3d 692, 695 (4th Cir.

1999) (citing Estelle v. Gamble, 429 U.S. 97, 105-06 (1976)).

 

[A] prison official cannot be found liable under the

Eighth Amendment for denying an inmate humane conditions

of confinement unless the official knows of and

disregards an excessive risk to inmate health or safety;

the official must both be aware of facts from which the

inference could be drawn that a substantial risk of

serious harm exists, and he must also draw the inference.
Farmer, 511 U.S. at 837. Farmer teaches “that general knowledge
of facts creating a substantial risk of harm is not enough. The
prison official must also draw the inference between those general
facts and the specific risk of harm confronting the inmate.”
Quinones, 145 F.3d at 168 (citing Farmer, 511 U.S. at 837); see
Rich v. Bruce, 129 F.3d 336, 338 (4th Cir. 1997). Thus, to survive
a motion to dismiss, the deliberate indifference standard requires
a plaintiff to assert facts sufficient to form an inference that
“the official in question subjectively recognized a substantial
risk of harm” and “that the official in question subjectively
recognized that his [or her] actions were ‘inappropriate in light
of that risk.’‘” Parrish ex rel. Lee v. Cleveland, 372 F.3d 294,
303 (4th Cir. 2004) (quoting Rich, 129 F.3d at 340 n.2).

In order to state an Eighth Amendment claim for denial of

adequate medical care, “a prisoner must allege acts or omissions

sufficiently harmful to evidence deliberate indifference to

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serious medical needs.” Estelle, 429 U.S. at 106. “To establish
that a health care provider’s actions constitute deliberate
indifference to a serious medical need, the treatment must be so
grossly incompetent, inadequate, or excessive as to shock the
conscience or to be intolerable to fundamental fairness.” Miltier

v. Beorn, 896 F.2d 848, 851 (4th Cir. 1990) (citing Rogers v.

 

Evans, 792 F.2d 1052, 1058 (11th Cir. 1986)), overruled in part on
other grounds by Farmer, 511 U.S. at 837. Furthermore, in
evaluating a prisoner's complaint regarding medical care, the
Court is mindful that “society does not expect that prisoners will
have unqualified access to health care” or to the medical treatment
of their choosing. Hudson, 503 U.S. at 9 (citing Estelle, 429
U.S. at 103-04). In this regard, the right to medical treatment
is limited to that treatment which is medically necessary and not
to “that which may be considered merely desirable.” Bowring v.
Godwin, 551 F.2d 44, 48 (4th Cir. 1977).

B. Defendant Dixon

Defendants contend that Canady fails to state a viable claim
against Dr. Dixon because:

Plaintiff’s first allegation of action or inaction by

Dr. Dixon relates to Plaintiff£’s treatment on April 6,

2017. As to that interaction, Plaintiff does not allege

that Dr. Dixon actually denied him treatment. Indeed,

Plaintiff's own allegations are that Dr. Dixon treated

Plaintiff but Plaintiff disagreed with Dr. Dixon’s
professional diagnosis.

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(ECF No. 17, at 9-10 (internal citation omitted).) Under parallel
circumstances, the United States Court of Appeals for the Fourth
Circuit has concluded that allegations like those pled by Canady
amount to deliberate indifference because, read in favor of the
plaintiff, they reflect a refusal to exercise medical judgment
rather than a disagreement over the proper course of medical care.
See Griffin v. Mortier, No. 19-7171, 2020 WL 7023895, at *4 (4th
Cir. Nov. 30, 2020).

In Griffin, the complaint alleged:

[Nurse] Mortier knew that Griffin suffered a seizure,

fell, and hit his head. The complaint further allege [d]

that Mortier knew that Griffin had ear pain after the

fall and that Mortier observed Griffin bleeding from the

nose and acting in an unusual and confused manner.

According to the complaint, rather than evaluate,

examine, or treat Griffin, Mortier simply placed him in

a holding cell. While in the holding cell, Griffin

became even more confused, but no medical action was

taken. Only after Griffin experienced a second seizure

and hit his head on the floor of the holding cell did he
receive any medical care.

Id. at *3. The Fourth Circuit rejected Mortier’s arguments against
deliberate indifference “by characterizing [the plaintiff's]
claims as presenting mere disagreements over the proper course of
treatment for his serious medical conditions.” Id. at *4. The
Fourth Circuit observed,
those characterizations are inaccurate because the
complaint alleges that Griffin received no treatment at
all until he suffered two additional seizures. See
Gordon, 937 F.3d at 359 n.14 (rejecting argument that

plaintiff’s deliberate indifference claim should fail
because he merely disagreed with course of treatment and

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explaining that plaintiff's claim was predicated on
“receivf{ing] no treatment at all”). And while Mortier
correctly observes that, in the Eighth Amendment
context, questions of medical judgment are generally
“not subject to judicial review,” Russell v. Sheffer,
528 F.2d 318, 319 (4th Cir. 1975), Griffin's complaint
read in his favor does not indicate that Mortier
exercised her medical judgment at all in these
circumstances.

 

Here, read in Canady’s favor, the Complaint indicates Dr.
Dixon failed to provide any treatment at all for Canady’s ailments
on April 6, 2017. Instead, Dr. Dixon became upset with Canady and
kicked him out of the exam room without exercising any reasoned
medical judgment with respect to Canady’s ailments. Id.
Thereafter, Canady became terribly ill and was required to be
transported to the hospital. Accordingly, Defendants’ Motion to
Dismiss Claim 1 will be denied.

Cc. Defendant Lewis

In Claim 2(a), Canady contends that Defendant Lewis violated
his rights under the First Amendment when she interfered with his
attempts to file informal complaints and grievances. Canady is
wrong. “[I]nmates have no constitutional entitlement or due
process interest in access to a grievance procedure. An inmate
thus cannot bring a § 1983 claim alleging denial of a specific
grievance process ....” Booker v. S.C. Dep’‘t of Corr., 855

F.3d 533, 541 (4th Cir. 2017); see Adams v. Rice, 40 F.3d 72, 75

 

(4th Cir. 1994) (“[T]he Constitution creates no entitlement to

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grievance procedures or access to any such procedure voluntarily
established by a state.”); Doans v. Rice, No. 87-7244, 1987 WL
38813, at *1 (4th Cir. Oct. 15, 1987) (“Because inmate grievance
procedures are not constitutionally required in state prison
systems, the failure to follow grievance procedures does not give
rise to a § 1983 claim.”). Moreover, the “failure of a prison
official to follow prison procedures does not, standing alone,
amount to a constitutional violation.” Morant v. Vaughn, No. 2:08-
cv-155, 2009 WL 6651941, at *6 (E.D. Va. Jan. 8, 2009). Given the
foregoing authority, Canady has failed to state a First Amendment
claim based on Defendant Lewis’s interference with his attempts to
file informal complaints and grievances. Accordingly, Claim 2(a)
will be dismissed.

Defendants also seek the dismissal of Canady’s claim that
Defendant Lewis violated his Eighth Amendment right to adequate
medical care by her failure to properly process his informal
complaints and grievances. ‘*[I]n the context of cases involving
prisoner medical care claims, it is possible for officials not
directly involved in the alleged constitutional violation to be
put on sufficient notice of the violation that their failure to
act can lead to a claim under Section 1983.” Rowe v. Clarke,
No. 3:18-CV-780, 2019 WL 2477612, at *4 (E.D. Va. June 13, 2019)
(citing Vance v. Peters, 97 F.3d 987, 992-94 (7th Cir. 1996)).

Defendants fail to acknowledge this line of jurisprudence and fail

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to explain why the allegations here are insufficient to state an
Eighth Amendment claim against Defendant Lewis. Accordingly,
Defendants’ Motion to Dismiss Claim 2(b) will be denied.

D. Defendant Amonette

In Claim 3, Canady contends that Defendant Amonette has
supervisory liability for constitutional violations of Dr. Dixon
because Defendant Amonette refused to respond to Canady’s
grievance appeals regarding the inadequate treatment Canady
received for his MRSA infection, plantar fasciitis, and heel spur.
In order to state a § 1983 claim for supervisory liability, a
plaintiff must allege:

(1) that the supervisor had actual or constructive

knowledge that h[er] subordinate was engaged in conduct

that posed “a pervasive and unreasonable risk” of

constitutional injury to citizens like the plaintiff;

(2) that the supervisor’s response to that knowledge was

so inadequate as to show “deliberate indifference to or

tacit authorization of the alleged offensive

practices,”; and (3) that there was an “affirmative

causal link” between the supervisor’s inaction and the

particular constitutional injury suffered by the
plaintiff.

Wilkins v. Montgomery, 751 F.3d 214, 226 (4th Cir. 2014)
(alteration in original) (quoting Shaw v. Stroud, 13 F.3d 791, 799
(4th Cir. 1994)).

Canady’s own submissions rather conclusively demonstrate that
Defendant Amonette, who is the Chief Medical Director for the VDOC,
never saw these grievance appeals. Instead, the appeals of the

intake decisions were processed in the Regional Ombudsman’s

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Office, where the intake decision was upheld or the appeal was
rejected as untimely. Against this factual backdrop, Canady's
allegation that Defendant Amonette knew of his medical issues and
turned a blind eye to the same (ECF 1-1 4{ 55-57) is entirely

conclusory and is rejected. Ashcroft v. Iqbal, 556 U.S. 662, 679

 

(2009). Canady fails to allege facts that plausibly indicate that
Defendant Amonette knew of and ignored any inadequate medical care

with respect to Canady. Accordingly, Claim 3 will be dismissed.

V. Conclusion
For the foregoing reasons, the Motion to Dismiss will be
granted in part and denied in part. Claim 2(a) and Claim 3 will
be dismissed. Any party wishing to file a motion for summary
judgment must do so within sixty (60) days of the date of entry

hereof.

An appropriate Order will accompany this Memorandum Opinion.

/s/ (1a

/ Robert E. Payne
Date: pra 5 Zor Senior United States District Judge
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